Case 2:09-cv-12561-BAF-MKM ECF
     Case: 11-1426 Document:   No. 48 filed 07/29/11
                             006111027506              PageID.720Page:
                                              Filed: 07/29/2011    Page1 1 of 2 (1 of 2)



                                          Case No. 11-1426

                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT

                                              ORDER



FMIO, INC.; RICHARD A. GARST

               Plaintiffs - Appellants

v.

SUMMERFIELD, TOWNSHIP OF; et al

               Defendant - Appellee



     Upon consideration of the appellant's motion to reinstate the case,

     And it appearing that the default which led to dismissal of the appeal has been cured,

     It is ORDERED that the motion be and it hereby is GRANTED.

                                                   ENTERED PURSUANT TO RULE 45(a),
                                                   RULES OF THE SIXTH CIRCUIT
                                                   Leonard Green, Clerk


Issued: July 29, 2011
                                                   ___________________________________
Case 2:09-cv-12561-BAF-MKM ECF
     Case: 11-1426 Document:   No. 48 filed 07/29/11
                             006111027507              PageID.721Page:
                                              Filed: 07/29/2011    Page1 2 of 2 (2 of 2)




                          UNITED STATES COURT OF APPEALS
                               FOR THE SIXTH CIRCUIT
                               100 EAST FIFTH STREET, ROOM 540
   Leonard Green              POTTER STEWART U.S. COURTHOUSE                  Tel. (513) 564-7000
       Clerk                      CINCINNATI, OHIO 45202-3988                www.ca6.uscourts.gov




                                                Filed: July 29, 2011




Ms. Cindy Rhodes Victor
Law Office
3290 W. Big Beaver Road
Suite 501
Troy, MI 48084

                   Re: Case No. 11-1426, FMIO, Inc., et al v. Summerfield, Township of, et al
                       Originating Case No. : 09-12561

Dear Sir or Madam,

  The Court issued the enclosed Order today in this case.

                                                Sincerely yours,

                                                s/Scott J. Swearingen
                                                Case Manager
                                                Direct Dial No. 513-564-7011

cc: Mr. Frederick Lucas
    Mr. David J. Weaver

Enclosure
